    Case 5:25-cv-00951-PCP   Document 218   Filed 06/28/25   Page 1 of 4




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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                             SAN JOSE DIVISION


UNITED STATES OF AMERICA,             CASE NO. 5:25-CV-00951-PCP

       Plaintiff,                     JOINT SUBMISSION REGARDING
                                      SETTLEMENT
            v.

HEWLETT PACKARD ENTERPRISE CO.        JUDGE: Hon. P. Casey Pitts
and JUNIPER NETWORKS, INC.

       Defendants.
      Case 5:25-cv-00951-PCP            Document 218        Filed 06/28/25       Page 2 of 4



                           JOINT SUBMISSION REGARDING SETTLEMENT

       On June 27, 2025, the United States and Defendants reached a settlement that resolves the

government’s competitive concerns about Hewlett Packard Enterprise’s proposed acquisition of Juniper

Networks. The settlement is subject to review by the Court under the Antitrust Procedures and Penalties

Act, 15 U.S.C. § 16(b)–(h) (the “APPA” or “Tunney Act”). An explanation of the procedures under the

Tunney Act is included as Exhibit A. As part of the Tunney Act procedures, the parties also have jointly

submitted a proposed Final Judgment and an Asset Preservation and Hold Separate Stipulation and

Order, as well as a Competitive Impact Statement explaining the proposed settlement. Dkt. No. 217.

       The United States and Defendants respectfully request that the Court sign the Stipulation and

Order as soon as possible. The Stipulation and Order will ensure the Defendants preserve competition

during the Tunney Act proceedings by complying with the provisions of the proposed Final Judgment

and maintaining the assets that the proposed Final Judgment requires Defendants to divest or license.

       In light of the settlement resolving this litigation, the parties propose that the Court cancel the

pre-trial conference currently scheduled for Monday at 10 am PDT. If the Court has any immediate

questions about the Stipulation and Order, the Parties can be available to address those by video

conference at the Court’s earliest convenience on Monday. If the Court has any other questions about

the settlement or the Tunney Act procedures, the parties can be available to address those promptly.
     Case 5:25-cv-00951-PCP          Document 218   Filed 06/28/25   Page 3 of 4




Dated: June 28, 2025
                                                /s/ JENNIFER MELLOTT (pro hac vice)
/s/ Chad Mizelle                                 JULIE ELMER (pro hac vice)
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       Case 5:25-cv-00951-PCP             Document 218    Filed 06/28/25     Page 4 of 4



                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

                I, Jan Rybnicek, am the ECF user whose identification and password are being used to

file the Joint Submission Regarding Settlement. In compliance with Local Rule 5-1(i)(3), I hereby attest

that all signatories hereto concur in this filing.

                                                                /s/ Jan Rybnicek
